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     Federal Defender
2    TIMOTHY ZINDEL, Bar #158377
     Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, California 95814
4    Telephone: (916) 498-5700
5
6    Attorney for Defendant
     CRYSTAL RUSSO
7
8
9                         IN THE UNITED STATES DISTRICT COURT
10                     FOR THE EASTERN DISTRICT OF CALIFORNIA
11
12
13   UNITED STATES OF AMERICA,       )      No. 2:11-CR-0198 MCE
                                     )
14                  Plaintiff,       )
                                     )      STIPULATION AND ORDER
15        v.                         )      CONTINUING STATUS CONFERENCE
                                     )      AND EXCLUDING TIME
16   CRYSTAL RUSSO,                  )
                                     )
17                  Defendant.       )      Date: March 22, 2012
                                     )      Time: 9:00 a.m.
18   _______________________________ )      Judge: Hon. Morrison C. England
19
20         IT IS HEREBY STIPULATED AND AGREED between defendant, Crystal Russo,
21   through her attorney, Timothy Zindel, and plaintiff, United States of
22   America, through its attorney, Daniel S. McConkie, that the status
23   conference scheduled for March 22, 2012, may be continued to April 26,
24   2012, at 9:00 a.m.
25         Ms. Russo (Crystal Lima) was arraigned last week on a year-old
26   indictment charging events that occurred in 2008.            (Her co-defendant,
27   Alonzo Barnett, is not in federal custody.)
28   ///
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1    The government has provided discovery but the defense needs additional
2    time to review it and also to bring a motion for Ms. Lima’s pretrial
3    release.       In light of these tasks, the parties agree that the ends of
4    justice served by this continuance outweigh the best interests of the
5    public and the defendant in a speedy trial and that time under the Speedy
6    Trial Act should be excluded through April 26, 2012, pursuant to 18
7    U.S.C. § 3161(h)(1)(g) and (h)(7)(a) and (b)(IV).
8
9                                              Respectfully submitted,
10                                             DANIEL J. BRODERICK
                                               Federal Defender
11
12   Dated:     March 21, 2012                 /s/ T. Zindel
                                               TIMOTHY ZINDEL
13                                             Assistant Federal Defender
                                               Attorney for CRYSTAL RUSSO
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15                                             BENJAMIN B. WAGNER
                                               United States Attorney
16
17   Dated:     March 21, 2012                 /s/ T. Zindel for D. McConkie
                                               DANIEL S. McCONKIE
18                                             Assistant U.S. Attorney
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     Stip & Order                             -2-
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1                                       O R D E R
2          The status conference is continued to April 26, 2012, at 9:00 a.m.
3    The Court finds that the ends of justice to be served by a continuance
4    outweigh the best interests of the public and the defendant in a speedy
5    trial, for the reasons stated above.
6          IT IS SO ORDERED.
7
      Dated: March 28, 2012
8
9                                          _____________________________
                                           MORRISON C. ENGLAND, JR.
10
                                           UNITED STATES DISTRICT JUDGE
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     Stip & Order                           -3-
